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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA

Vv. : No. 07-171
RODERICK VOSBURGH.
ORDER
AND NOW, this day of June, 2007, upon consideration of Defendant’s

Motion to Suppress Statements and Seized Evidence, the prosecution’s response, and a
full hearing, it is

ORDERED: The Motion is GRANTED. The following evidence is
SUPPRESSED and the prosecution may not introduce it at Trial. In addition, the

prosecution shall return all educational records, and any copies made, to defendant and or
the college or university from which they were seized.

1. All evidence seized based on Attachment B to all the search warrants as
products of general warrants is suppressed.

2. Any and all oral statements obtained from Mr. Vosburgh, and any written
notes of those statements, and any testimony based on those statements are suppressed as
in violation of his rights under the Fourth, Fifth and Sixth Amendments to the
Constitution as well as the requirements of Miranda v. Arizona.

3. All objects seized from Mr. Vosburgh’s apartment, tangible and intangible,
such as photographs taken and observations made by agents searching the apartment, as
well as photographs taken at the time are suppressed as seized in violation of Mr.

Vosburgh’s rights under the Fourth, Fifth and Sixth Amendments to the Constitution,
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4. Any evidence obtained from search warrants based on statements illegally
obtained from the Defendant, that is the warrants of March 1, and March 15, and March
27 is suppressed as fruits of the poisonous tree. Anything seized from LaSalle University
and Ursinus College are suppressed also on the ground that it was seized in violation of
FERPA.

5. Ifthere are other search warrants of which Defense counsel has not been
informed, or government demands to Universities or Colleges to turn over information
under color of law which are defective or tainted fruits of the poisonous tree, then

undersigned counsel has leave to move for suppression of any other items obtained by

Ulegal means.

BY THE COURT:

 

TIMOTHY J. SAVAGE
UNITED STATES DISTRICT JUDGE
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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA
v. No. 07-171
RODERICK VOSBURGH

DEFENDANT’S MOTION TO SUPPRESS STATEMENTS
AND SEIZED EVIDENCE

Defendant, Roderick Vosburgh, by his attorney, Anna M. Durbin, moves for a
hearing on this Motion and also moves to suppress statements and tangible and intangible
evidence seized from his person and his- apartment:

1. On March 27, 2007, the defendant was named in a three-count indictment
charging him with violations of 18 U.S.C. §§ 1519, 2232 and 2252(a)(4)(B) and (b)(2).

2. Trial in this case has been scheduled for July 25, 2007.

Department of Justice Administrative Subpoena

3. According to the Search Warrant Affidavit submitted the Magistrate Judge by
Agent Desy in this case, at some unknown time between November and December, and
FBI Agent Luders allegedly issued Department of Justice Administrative Subpoenas to
identify subscribers to a sham link on Luiters’ covert FBI computer in San Jose,
California.

4. Counsel has requested, but not received the Department of Justice
Administrative Subpoena which allegedly resulted in the identification of Defendant’s IP
address. Since no authorization to obtain this information has been obtained, counsel

must allege that the information was obtained unlawfully and must be suppressed.
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5. Since the search warrant affidavit attached as Exhibit A relies on information
illegally obtained, then any seizures resulting from the Search Warrant Affidavit must be
suppressed.

Search Warrant I

6, On February 23, 2007, FBI Agent David J. Desy obtamned a search warrant
from a United States Magistrate Judge in the Eastern District of Pennsylvania.

7, On February 27, 2007, the FBI and the Upper Providence police executed the
search warrant at Mr. Vosburgh’s apartment, 37 State Road, Apt. B4, Media.

8. Agents and police seized numerous items which Defendant cannot fully list at
this time as counsel does not yet have a legible copy of the search warrant return.

9. The search warrant failed to establish probable cause to believe that evidence
of the crimes being investigated would be in Mr. Vosburgh’s apartment at the time of the
search.

10. The search warrant contains many assertions which have no attribution to any
reliable source or which have no connection to Mr. Vosburgh’s apartment or Items
contained there in February 27, 2007.

Involuntary Admissions by Defendant, Obtained in Violation of Law

11. During the course of the execution of the search warrant, the agents and police
took Mr. Vosburgh into custody, requiring him to lie down and submit to being
handcuffed.

12. Agents and police had no probable cause to arrest Mr. Vosburgh and they had

no warrant for his arrest.
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22. Agents may not repeatedly violate the privacy of a defendant’s home to obtain
objects in plain view which they did not seize during the first approximately 4+ hour
search.

23. The seizure of the external hard drive and any other items seized from Mr.
Vosburgh’s apartment on March 1, 2007, were tainted fruits of the potsonous tree of the
Ulegally obtained statement and must be suppressed.

Search Warrant II

24. On March 15, 2007, FBI Agent Desy obtained a search warrant from a
different Magistrate Judge to search LaSalle University, Olney Hall, the Adjunct Office
Room, Olney 314 and apparently a shared computer. He included much of the Affidavits
in Search Warrants I and II in his Affidavit for the LaSalle Search Warrant and the search
warrant is defective for the same reasons as stated above.

25. Agent Desy did not disclose in the Affidavit for the LaSalle Search Warrant
that he only learned that Defendant taught at LaSalle University from statements illegally
obtained from the Defendant at the time of the execution of Search Warrant I.

26. Undersigned counsel does not yet have any copy of the search warrant return.

27. Any seizures from LaSalle University were tainted fruits of the poisonous tree
of the illegally obtained statement and must be suppressed.

28. In addition, since Mr. Vosburgh may have kept his own educational records
and educational records of students he taught on the shared computer at his office, on his
user account on the LaSalle University file server or on papers 1m his office, the Search
Warrant provided to counsel was in violation of the Family Educational Rights and

Privacy Act (FERPA). 20 U.S.C. §12328(b)(1)()(), (b)(2)(B). These computer
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WHEREFORE, for the foregoing reasons and for any which may occur to the
Court on a full hearing of this Motion, which hearing he requests, the Defendant, by
counsel, respectfully requests that all evidence, tangible and intangible, and statements
seized on February 27, March 1, and on any later occasion from Mr. Vosburgh, third

parties, or his apartment be suppressed.

Respectfully submitted,

Dated: June 4, 2007

. pA
Anna M. Durbin ~
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Court-appointed attorney for
Roderick Vosburgh
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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA
v. : No. 07-171
RODERICK VOSBURGH

DEFENDANT’S MEMORANDUM IN SUPPORT OF HIS MOTION
TO SUPPRESS STATEMENTS AND SEIZED EVIDENCE

Defendant, Roderick Vosburgh, by his attorney, Anna M. Durbin, has moved to
suppress tangible and intangible evidence seized based on an administrative subpoena
that has not been produced, from two search warrants on his apartment, and from two
search warrants served on a college and a university where he was teachmg. In addition,
he moved to suppress statements elicited from him while he was in custody, had
requested a lawyer, and was not provided his Miranda rights. He requests a full hearing
on this Motion.

The Fourth Amendment to the Constitution requires that a warrant for search and
seizure must establish probable cause that the items sought are presently in the place
where the in this case, the FBI seeks to execute the search warrant. The evidence relied
on to search Defendant’s apartment was obtained on October 25, 2006, and it was weak.
Someone using Defendant’s alleged personal ip address attempted to access sham files in
a short period of time on October 25, 2006. The name of the files did not reveal that
they contained child pornography. Not until February 27, 2007, over four months later,

did agents execute the search warrant. There was no other contact with Defendant’s

alleged ip.
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The FBI allegedly obtained information about the ip address through use of an
Administrative Subpoena. That subpoena has not been produced, so the Court may
presume that it was flawed, and that the information was obtained in violation of the
Constitution. All other evidence connecting the Defendant to any alleged crime is tainted
by the illegally obtained information about the ip, and must be suppressed as fruit of the
poisonous tree. See Wong Sun v. United States, 371 U.S. 471 (1963).

Attachment B, attached to the warrants contained a laundry list of any kind of
item that might possibly have some evidence about computer use, but there was no
probable cause that Defendant possessed any such items. Instead the laundry list allowed
officers to rifle papers, diaries, and private computer files that there was no probable
cause to believe had any connection with child pornography. This search warrant
allowed for a wide ranging exploratory search which the Framers of the Fourth
Amendment intended to prohibit. Maryland v. Garrison, 480 U.S. 79 (1987).

The bulk of the search warrant affidavit consists of broad statements about the

_ nature of unknown individuals who access child pornography. There is nothing to
establish that these broad assertions are reliable, based on research, or from where the
agent derived them and when. Nothing that is not included in the search warrant affidavit
can be examined to determine whether the search warrant established probable cause to
search Defendant’s apartment in February, 2007. Nor did the agent cite any information
from which the Magistrate could conclude that Defendant met the profile of the people
that the search warrant affidavit painted with a broad brush.

Any statements made by the Defendant must also be suppressed from use at trial,

First, there was no probable cause to arrest him when he left his apartment and there was

 
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no warrant for his arrest. He was handcuffed and forced to sit on a step or curb for a
considerable period of time and did not believe he was free to go. He requested to talk to
or call his lawyer and that request was denied. Nonetheless, agents questioned the
defendant and elicited information from him. They did not provide him Miranda
warnings about his statements. Because statements from the defendant were obtained in
violation of the requirements the Fifth and Sixth Amendments to the Constitution and the
additional requirements of Miranda v. Arizona, 384 U.S. 436 (1966), they must be
suppressed.

Because the statements from Defendant were illegally obtained, they cannot
support further search warrants. The FBI sought a second search warrant to search
Defendant’s apartment after he told them he had an external hard drive. It was in plain
view when they first searched the apartment. There is no Fourth Circuit jurisprudence
that allows officers to repeatedly ransack a defendant’s apartment because they did not
seize something in plain view. In addition, the second warrant must fall, because the
agent failed to inform the magistrate that his knowledge of the external hard drive came
from statements illegally elicited from the Defendant. The seizure of the external hard
drive is a tainted fruit of the poisonous tree.

The other two warrants to search Defendant’s computer files at Ursmus College
and LaSalle University also fail for the same reasons the first two search warrants fail. In
addition, agents obtained the files in violation of FERPA, which protects educational
records, not only of the defendant, but of the students he taught. That statute, as cited in
the motion, requires that students be given notice before educational records are seized

and an opportunity to object. There was no exigent circumstances which required the
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FBI to violate FERPA, as the Defendant had been arrested and prohibited from going to
either of the campuses.

For these and any other reasons which may occur to the Court on a full hearing of
this motion, Defendant requests that all evidence, tangible and intangible seized from his
apartment or his person, as well as all statements elicited from him while he was not free

to leave, be suppressed.

Respectfully submitted,

Dated: June 4, 2007

 

Anna M. Durbin

Court-appointed attorney for
Roderick Vosburgh
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CERTIFCATION OF SERVICE
I certify that on J une 5, 2007, I caused the attached Defendant’s Motion To
Suppress Statements and Seized Evidence and Memorandum in Support to be served
electronically on the attorney for the government at her address below:
Denise Wolf, Esq.

Assistant United States Attorney
denise.wolf@usdoj.go0v

Uf

Anna M. Durbin
